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                       Exhibit 7
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  Osama Hamdan Account at Arab Bank
  1st Transfer on October 16, 2000 Payable to “HAMAS”




PX 0136                                                                                           11
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  Osama Hamdan Account at Arab Bank
  2nd Transfer on October 16, 2000 Payable to “HAMAS”




PX 0140                                                                                           12
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  Osama Hamdan Account at Arab Bank
  December 29, 2000 Transfer Payable to “HAMAS ORGANIZATION”




PX 0106                                                                                          13
